         Case 1:17-cv-08223-PKC Document 19 Filed 01/17/18 Page 1 of 5




                                           January 17, 2018

VIA ECF

The Honorable P. Kevin Castel
United States Courthouse
500 Pearl Street, Courtroom 11 D
New York, NY 10007-'1312

        Re:    SEC v. Rashid, No. 17-cv-8223-PKC (S.D.N.Y.)

Dear Judge Castel:

       In accordance with the Court's Initial Pretrial Conference Order dated November 15, 2017
("Order"), Plaintiff Unrted States Securities and Exchange Commission (`'Commission" or "SEC")
and Defendant Mohammed Ali Rashid's ("Defendant" or "Mr. Rashid''), by counsel, respectfizlly
submit this joint letter in advance of the Initial Pretrial Conference in this case that is scheduled for
January 24, 2018, at 1 1:30 a.m.

               Brief Description of the Case

         This case concerns allegations by the Commission that from January 2010 to June 2013,
Mr. Rashid, a former partner of Apollo Management, L.P. ("Apollo"), misappropriated
approximately $290,000 by expensing personal items from certain Apollo private equity funds. The
SEC's complaint alleges violations of §§ 206(1) and (2) of the Investment Advisers Act of 1940
("the "Advisers Act") and aiding and abetting Apollo's violations of these provisions. The
Commission seeks a permanent injunction against future violations of the federal securities law and
a civil money penalty.

                a. Plaintiff's Statement of Factual and Leal Bases for the Claims

        Sections 206(1) and (2) of the Advisers Act prohibit an investment adviser from:
(1)employing any device, scheme, or artifice to defraud clients or prospective clients; or
(2)engaging in any transaction, practice, or course of business that operates as a fraud or deceit
upon clients or prospective clienCs. An investment adviser is a fiduciary whose actions are
governed by the highest standards of conduct. See SEC v. Capital Guins Research, Inc., 375 U.S.
 180, 19'1-92 (1963). As fiduciaries, investment advisers have a duty of utmost good faith, to fiilly
disclose all material facts, and to employ reasonable care to avoid misleading clients. See id. at 194.
Investment adviser fraud mast concern a material fact. See id. at 200. Scienter is a required
element of a Section 206(1) violation, but a violation of Section 206(2) can be satisfied by a
showing of simple„ negligence. See .SEC v. Steadman, 967 F2d 636, 643 n. 5 (D.C. Cir. 199?).
Particularly relevant to this case, "diversion and misappropriation of fiends by an adviser are
 necessarily material." SEC v. Penn, III et ul., 225 F. Supp. 3d 225, 23$ (S.D.N.Y. 2016). See also
         Case 1:17-cv-08223-PKC Document 19 Filed 01/17/18 Page 2 of 5



The Honorable P. Kevin Castel
January 17, 2018
Page 2 of 5
                                                                                                      of
Blair Alexander West v. SEC, 64;1 Fed. Appx. 27 (2d Cir. 2016)("[m]isappropriation or misuse
                                                                                             of the most
customer fiends constitutes a serious violation of the securities laws, involving a betrayal
basic and fundamental trust owed to a customer.").

        The Complaint alleges Defendant was an investment adviser and fiduciary to his client
                                                                                                and
funds, but he nonetheless regularly charged personal expenses to his corporate credit card
submitted expense reports that falsely characterized those expenses as legitimate business expenses.
The Complaint further alleges that Defendant, through Apollo, obtained reimbursement from the
client funds based on Defendant's false representations and that Defendant knew this would happen.
The personal expenses that Defendant is alleged to have misrepresented as business expenses
include: (1) travel and hotel expenses for vacations at resorts in Cancun, Rio de Janeiro and other
                                                                                                  to
locales;(2) bed and breakfast expenses for weekends at the New Jersey shore and weekend trips
Las Vegas; and (3) hair salon charges, clothing expenses and consumer    electronics purchases. The
Complaint alleges that Defendant continued to charge such personal expenses to client funds even
after he was twice caught by Apollo and told to stop.

        To establish that Defendant misappropriated client funds, the Commission intends to rely
on his own admissions, detailed spreadsheets that include such admissions, and on
contemporaneous documents and relevant witness testimony to establish that Defendant's claims
that certain expenses were business related —and should be charged to the fiends that he managed —
were false. As the Complaint alleges, Defendant ultimately admitted to Apollo that many of the
expense items that he had characterized as legitimate business expenses during the Relevant Period
were actually his personal expenses. After being placed on leave in mid-201.3, Defendant and his
counsel participated in a detailed review of his expenses being conducted by Apollo's auditor and
outside counsel. Defendant and his counsel were afforded access to his emails, calendars and other
records and sought to identify business justification for his claimed expenses. In the course of the
review, Defendant's lawyers were given detailed spreadsheets that listed thousands of individual
expenses that Defendant had incurred during the Relevant Period. Each entry showed the expense
amount, date of expense, merchant and the description that Defendant had provided in his original
                                                                                               After
expense reports. The spreadsheets also contained a column titled "expense classification."
attempting to identify a business justification for each of the expense entries listed in the
                                                                                                 the
spreadsheets, Defendant and/or his counsel annotated the ``expense classification" with
designation "personal," ``business" or sometimes "partial business.    The  expenses that Defendant
acknowledged were "personal'' added up to approximately $220,000.

        In addition to the amounts that Defendant identified as his "personal" expenses on the
spreadsheets, Apollo's auditor determined that another approximately $61,000 worth of the expense
entries on the spreadsheets lacked a documented business justification. Defendant's lawyers ~~ere
shown versions of the spreadsheets that contained the auditor's findings. Moreover, in addition to
                                                                                               the
the expenses that Defendant self-identified as "personal" and the additional expenses that
auditor found was personal, Defendant had previously admitted that another  approxima tely $8,000
in claimed business expenses were actually his personal expenses. All told, .Defendant agreed to
repay a total of approximately $290,000.
        Case 1:17-cv-08223-PKC Document 19 Filed 01/17/18 Page 3 of 5



The Honorable P. Kevin Castel
January 17, 2018
Page 3 of 5

        In addition to reliance on Defendant's admissions, to the extent necessary, the Commission
intends to present contemporaneous documents and testimony from Apollo executives, Apollo fund
clients, and others to establish that certain of Defendant's claimed business expenses were actually
personal, that he acted with scienter, and that his misappropriation was material.

               b. Defendant's Statement of Factual and Legal Bases for Defenses

       By pre-motion letter dated December 26, 2017, 1VIr. Rashid sought leave to file a motion to
dismiss. If granted leave, Mr. Rashid intends to argue that the Complaint should be dismissed
because: (1) it fails to comply with Federal Rule of Civil Procedure Rule 9(b); in failing to allege
with the required specificity the "more than one thousand" personal expenses purportedly at issue;
(2) the alleged misconduct is immaterial, given the infinitesimal effect or potential effect that
approximately $300,000 in expenses could ever have had on the relevant private equity funds,
which had tens of billions of dollars in balances; and (3) a five-year limitations period under 28
U.S.C. § 2462 applies to the Commission's claims for injtmetive and monetary relief, with the
consequence that claims based on conduct pre-dating June 2011 are time-barred.

        Mr. Rashid intends to hold the Commission to its burden of proving that he intentionally
submitted false expense claims for the purpose of misappropriating client funds. Contrary to the
SEC's assertions. Mr. Rashid has never admitted fraud. In mid-2013, while resolving what was at
the time an internal employment dispute between himself and Apollo, Mr. Rashid reviewed expense
claims and spreadsheets summarizing his reimbursed expenses from as early as January 2010, or
more than three years prior. This review was conducted as part of what Mr. Rashid believed to be a
confidential, internal process which stemmed largely from Mr. Rashid's use of a single corporate
credit card for both personal and business expenses (a practice among its employees that Apollo
permitted at the time) and mischaracterizations in expense claims prepared by Mr. Rashid's
administrative assistants, who in retrospect lacked adequate guidance, from Mr. Rashid and others.
Mr. Rashid helped Apollo identify many items that were clearly reimbursable business expenses.
For the smaller subset of expenses that could not be easily determined from memory or from the
paltry set of records made available to Mr. Rashid at the time, Mr. Rashid decided to repay them all.
That repayment encompassed all expense claims at issue in this case. He did so for the avoidance
of doubt and in an effort to resolve the matter expeditiously. The SEC had no involvement in the
process between Apollo and Mr. Rashid.

        The SEC's reliance on Mr. Rashid's i~e-payment as an "admission" of fraudulent intent is
therefore completely unfounded. That Mr. Rashid was acting with a fraudulent intent at the time
these expenses were submitted for reimbursement will be strongly disputed, including for the reason
that Apollo's reimbursement policies for travel and other business-related expenses were far from
clear, or routinely or uniformly enforced. Apollo never reprimanded Mr. Rashid for his expense
claims before mid-201.3 review described above; it repeatedly promoted him. The SEC will also
bear the burden of showing that there was no business purpose for each and every one of the "more
than one thousand" expenses to which the Complaint repeatedly refers, without particularization.
Mr. Rashid expects that the information produced in discovery will demonstrate instead that many
expenses referenced in the Complaint had a legitimate business purpose or fell within the scope of
Apollo's reimbursement policies and practices at the time, even though he agreed to re-pay them.
         Case 1:17-cv-08223-PKC Document 19 Filed 01/17/18 Page 4 of 5



The Honorable P. Kevin Castel
January 17, 2018
Page 4 of 5


       2.      Contemplated Motions

        The Commission does not presently contemplate being able to file a diapositive motion in
this case, but will continue to evaluate the possibility of such a motion as discovery proceeds.
Further, the Commission anticipates filing certain pre-trial motions depending upon defendant's
proposed evidence, including but not limited to his use of expert witnesses, and any proposed
attacks on the Commission's investigation, its decision to file the case, and the nature of the case.

        Mr. Rashid has filed the pre-motion letter described above, seeking leave to file a motion to
dismiss. Like the Commission, N1r. Rashid cannot yet determine whether he will file additional
diapositive motions or discovery motions, assuming the case is not dismissed. Mr. Rashid will
                                                                                               rely.
evaluate such motions as he learns more about the proof on which the Commission intends to

               The Prospect for Settlement

       The parties are willing to discuss settlement. The parties further state as follows:

               a. The Plaintiff's Positron

       This matter is likely to settle only if Defendant agrees to an order that bars him from acting
                                                                                                       of
as an investment adviser fiduciary in the future. Absent settlement, the Commission's Division
Enforcement will seek a bar in a separate proceeding       before the  Commissio   n following a decision
on the merits in the present litigation. A bar is necessary aild in the public interest as Defendant's
conduct was egregious, continued after Apollo informed hiln that it was improper, and occurred
                                                                                                       to
over an extended period of time. Defendant knew his conduct was improper as he took steps
                                                            it. Should  Defendant   remain an  investmen t
conceal it while he continued to directly benefit from
adviser, it is certain his position will present the opportunity for future violations.

                        Defendant's Position

        It would be an insurmountable barrier from Mr. Rashid's perspective, if the Commission
insisted nn structuring the settlement so as to bar Mr. Rashid from working in the investment
adviser industry. Mr. Rashid's career has already been irreparably damaged by the SEC
investigation, and he is currently unemployed. A bar, which would foreclose evezl fut~ire prospects,
would be a term to which Mr. Rashid has no reason or incentive to agree.
           Case 1:17-cv-08223-PKC Document 19 Filed 01/17/18 Page 5 of 5



The Honorable P. Kevin Castel
January 17, 2018
Page S of ~



          4.          Conclusion

       As the Court's Order also requires, the parties are jointly preparing a proposed Case
Management Plan to be submitted at the Initial Pretrial Conference. The undersigned counsel look
forward to addressing these matters at the Conference and thank Your Honor for his attention to this
case.




Respectfully submitted,
                                                           rte`"                   .~~-,-~

     ,`                            ~
           !;" H s~


Duane K. Thompson                                   William A. Burck
James M. Carlson                                    Christine H. Chung
Securities and Exchange Commission                  R. Brian Timmons
100 F Street NE,                                    Quinn Emanuel Urquhart &Sullivan, LLP
Washington, D.C., 20549                             777 Sixth Street NW, 1 lt" Floor
                                                    Washington, D.C., 20001

Attorneys for Plaintiff                             Attorneys for Defendant
